Case 2:19-cv-00159-HYJ-MV ECF No. 115, PageID.823 Filed 07/05/22 Page 1 of 1


                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION

RICHARD J. HILL,                                         Case No. 2:19-cv-159

                     Plaintiff,                          Hon. Hala Y. Jarbou
       v.                                                U.S. District Judge


JUSTIN WONCH,

                     Defendant.
                                                     /

                                        ORDER

       Pursuant to the final pretrial conference held on July 5, 2022,

       IT IS HEREBY ORDERED that each party will submit one exhibit book to the

Court by close of business, Thursday, July 7, 2022 and three additional exhibit books

prior to the start of trial on July 11, 2022.

       IT IS SO ORDERED.


Date: July 5, 2022                           /s/ Maarten Vermaat
                                          Maarten Vermaat
                                          United States Magistrate Judge
